Case 17-33059-CMG              Doc 32 Filed 05/12/18 Entered 05/13/18 00:40:58                        Desc Imaged
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Form 148 − ntcdsmcs

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                         Case No.: 17−33059−CMG
                                         Chapter: 13
                                         Judge: Christine M. Gravelle

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Janet M Booher
   18 Laurelwood Drive
   Bernardsville, NJ 07924
Social Security No.:
   xxx−xx−7956
Employer's Tax I.D. No.:


                                    NOTICE OF ORDER DISMISSING CASE


      NOTICE IS HEREBY GIVEN that an Order Dismissing the above captioned Case was entered on 5/10/18.

      Any discharge which was granted in this case is vacated. All outstanding fees to the Court incurred by the
dismissed debtor(s) are due and owing and must be paid within five (5) days from the date of this Order.




Dated: May 10, 2018
JAN: bwj

                                                                   Jeanne Naughton
                                                                   Clerk
    Case 17-33059-CMG           Doc 32 Filed 05/12/18 Entered 05/13/18 00:40:58                Desc Imaged
                                     Certificate of Notice Page 2 of 3
                                      United States Bankruptcy Court
                                         District of New Jersey
In re:                                                                                 Case No. 17-33059-CMG
Janet M Booher                                                                         Chapter 13
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0312-3          User: admin                  Page 1 of 2                   Date Rcvd: May 10, 2018
                              Form ID: 148                 Total Noticed: 23

Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 12, 2018.
db             +Janet M Booher,    18 Laurelwood Drive,    Bernardsville, NJ 07924-2115
517200949      +Matthew Booher,    18 Laurelwood Drive,    Bernardsville, NJ 07924-2115
517177389      +Mortgage Service Cente,    1 Mortgage Way,    Mount Laurel, NJ 08054-4637
517177388      +Mortgage Service Cente,    Attn: Bankruptcy Dept,    Po Box 5452,    Mt Laurel, NJ 08054-5452
517331584      +PNC Bank, National Association,    C/O PHH Mortgage Corporation,
                 One Mortgage Way Mailstop SBRP,    Mt. Laurel, New Jersey 08054-4637
517198051     ++STATE OF NEW JERSEY,    DIVISION OF TAXATION BANKRUPTCY UNIT,     PO BOX 245,
                 TRENTON NJ 08646-0245
               (address filed with court: State of New Jersey,        Division of Taxation,    Bankruptcy Section,
                 PO Box 245,    Trenton, NJ 08695)
517198049      +Shapiro & DeNardo,    14000 Commerce Parkway,    Suite B,    Mt. Laurel, NJ 08054-2242
517200950       Shapiro & DeNardo,    1400 Commerce Parkway, Suite B,     Mt. Laurel, NJ 08054
517198050      +Somerset County Sheriff,    20 Grove Street,    Somerville, NJ 08876-2306
517198048      +The Provident Loan Society,    346 Park Avenue S.,    New York, NY 10010-1708

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: usanj.njbankr@usdoj.gov May 10 2018 23:27:36        U.S. Attorney,    970 Broad St.,
                 Room 502,    Rodino Federal Bldg.,   Newark, NJ 07102-2534
smg            +E-mail/Text: ustpregion03.ne.ecf@usdoj.gov May 10 2018 23:27:35        United States Trustee,
                 Office of the United States Trustee,     1085 Raymond Blvd.,    One Newark Center,    Suite 2100,
                 Newark, NJ 07102-5235
517177384      +EDI: CAPONEAUTO.COM May 11 2018 02:58:00       Capital One Auto Finance,
                 Attn: General Correspondence/Bankruptcy,     Po Box 30285,    Salt Lake City, UT 84130-0285
517177385      +EDI: CAPONEAUTO.COM May 11 2018 02:58:00       Capital One Auto Finance,    3901 Dallas Pkwy,
                 Plano, TX 75093-7864
517208156      +EDI: AISACG.COM May 11 2018 02:58:00       Capital One Auto Finance, a division,
                 of Capital One, N.A. c/o AIS,    Portfolio Services, LP,     4515 N Santa Fe Ave. Dept. APS,
                 Oklahoma City, OK 73118-7901
517187259      +EDI: AISACG.COM May 11 2018 02:58:00       Capital One Auto Finance, a division of Capital On,
                 AIS Portfolio Services, LP,    4515 N Santa Fe Avenue, Dept APS,     Oklahoma City, OK 73118-7901
517205526      +EDI: AISACG.COM May 11 2018 02:58:00       Capital One Auto Finance, c/o AIS Portfolio Servic,
                 P.O. Box 4360,    Houston, TX 77210-4360
517177387       EDI: DISCOVER.COM May 11 2018 02:58:00       Discover Financial,    Po Box 15316,
                 Wilmington, DE 19850
517195727      +EDI: DISCOVER.COM May 11 2018 02:58:00       Discover Bank,    Discover Products Inc,
                 PO Box 3025,    New Albany Ohio 43054-3025
517177386      +EDI: DISCOVER.COM May 11 2018 02:58:00       Discover Financial,    Po Box 3025,
                 New Albany, OH 43054-3025
517401115      +E-mail/Text: bncmail@w-legal.com May 10 2018 23:27:46       TD Bank USA, N.A.,
                 C O WEINSTEIN & RILEY, PS,    2001 WESTERN AVENUE, STE 400,     SEATTLE, WA 98121-3132
517177390      +EDI: WTRRNBANK.COM May 11 2018 02:58:00       Tnb-Visa (TV) / Target,
                 C/O Financial & Retail Services,    Mailstop BV    PO Box 9475,    Minneapolis, MN 55440-9475
517177391      +EDI: WTRRNBANK.COM May 11 2018 02:58:00       Tnb-Visa (TV) / Target,     Po Box 673,
                 Minneapolis, MN 55440-0673
                                                                                                TOTAL: 13

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
517442799*    ++STATE OF NEW JERSEY,   DIVISION OF TAXATION BANKRUPTCY UNIT,    PO BOX 245,
                 TRENTON NJ 08646-0245
               (address filed with court: State of New Jersey,     Department of Treasury,
                 Division of Taxation,   PO Box 245,    Trenton, NJ 08695-0245)
517200952*    ++STATE OF NEW JERSEY,   DIVISION OF TAXATION BANKRUPTCY UNIT,    PO BOX 245,
                 TRENTON NJ 08646-0245
               (address filed with court: State of New Jersey,     Division of Taxation,    Bankruptcy Section,
                 PO Box 245,   Trenton, NJ 08695)
517200951*     +Somerset County Sheriff,    20 Grove Street,   Somerville, NJ 08876-2306
517200953*     +The Provident Loan Society,    346 Park Avenue S,   New York, NY 10010-1708
                                                                                              TOTALS: 0, * 4, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).
      Case 17-33059-CMG                Doc 32 Filed 05/12/18 Entered 05/13/18 00:40:58                               Desc Imaged
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                                      Form ID: 148                       Total Noticed: 23


             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 12, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 10, 2018 at the address(es) listed below:
              Albert Russo    docs@russotrustee.com
              Bruce H Levitt   on behalf of Debtor Janet M Booher blevitt@levittslafkes.com,
               sslafkes@levittslafkes.com;lspcattorneys@gmail.com;hbr69524@notify.bestcase.com
              Charles G. Wohlrab   on behalf of Creditor   PNC BANK, NATIONAL ASSOCIATION cwohlrab@logs.com,
               njbankruptcynotifications@logs.com
              U.S. Trustee   USTPRegion03.NE.ECF@usdoj.gov
                                                                                             TOTAL: 4
